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                Exhibit 5
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                                                              Copyright278-6
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The Wayback Machine           -   https://web.archive.org/web/20210804133149/https://www.suddenlink.com/digital-milleniu...
      suddenlink




     Copyright Infringement
     Information
     Altice respects the intellectual property rights of third parties and is committed to complying with all U.S.

     copyright and related laws. As a Subscriber, you may not store, distribute or otherwise disseminate any

     material or content over the Suddenlink internet service in any manner that constitutes an infringement of

     third-party intellectual property rights, including but not limited to copyrights. Pursuant to the Digital Millennium
     Copyright Act ("DMCA") and other applicable laws, Altice reserves the right, in its sole discretion, to suspend
     or terminate, in    appropriate circumstances, the Suddenlink internet service provided to any Subscriber who
     Altice reasonably believes to be infringing third-party copyright or other intellectual property rights, including

     repeat infringers. This policy is in addition to and does not affect or modify any other rights that Altice may
     have under law or contract.


     Hosted Materials


     If a copyright holder believes in good faith that materials being hosted by Altice or otherwise stored on its

     network infringe on its rights, the copyright holder (or its agent) may send Altice a notification in accordance

     with the requirements set forth in the DMCA, requesting that Altice remove or block access to the                 infringing
     material. The notification must be sent to:

     DMCA Notices

     c/o HSD Security

     CSC Holdings, LLC
     1111 Stewart Avenue

     Bethpage, NY 11714
     Fax: 516-803-2502


        1. A physical or electronic signature of a person authorized to act on behalf of the owner of an exclusive

            right that is allegedly infringed;

        2. Identification of the copyrighted work claimed to have been infringed, or if multiple copyrighted works at

            a single on-line site are covered         by a single notification, a representative list of such works at that site;

         3. Identification of the material that is claimed to be infringing or to be the subject of infringing activity and
            that is to be removed or access to which is to be disabled, and information reasonably sufficient to

            permit Altice to locate the material;



https://web.archive.org/web/20210804133149/https://www.suddenlink.com/digital-millenium-copyright-act                               1/3



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        4. Information reasonably sufficient to permit Altice to contact you, such as an address, telephone number,

            and if available, an electronic mail address at which the complaining party may be contacted;

        5. A statement that the copyright owner or its agent has a good faith belief that use of the material in the

           manner     complained of is not authorized by the copyright owner, its agent, or the law; and
        6. A statement that the information in the notification is accurate, and under penalty of perjury, that you are
           authorized to act on behalf of the owner of an exclusive right that is allegedly infringed.


     Upon receipt of a Notification of Copyright Infringement from a copyright owner that contains the required
     information described in 1 through 6 above, Altice may notify the customer of the alleged infringement, and, if

     hosted on a Suddenlink domain, remove or disable access to the material that is alleged to be infringing. No
     personal customer information is shared with the copyright owner unless required by law. Altice does not
     promise or undertake any duty to do any of the foregoing, except as required by applicable law.

     If as a Subscriber, you receive a notification of copyright infringement from Altice, pursuant to the DMCA you
     may file a counter notification to Altice. Upon receipt of a counter notification that satisfies the requirements of

     the DMCA, Altice will provide a copy of the counter notification to the copyright holder who sent the original

     notification of claimed infringement and will follow the DMCA's procedures with respect to a received counter

     notification. In all events, Subscriber agrees that Altice will not be a party to any dispute or lawsuit regarding
     alleged copyright infringement.

     DMCA Notices

     c/o HSD Security

     CSC Holdings, LLC
     1111 Stewart Avenue

     Bethpage, NY 11714
     Fax: 516-803-2502


     Illegal File Sharing (e.g., Peer-to-Peer Communications)

     Copyright owners may also notify Altice if they believe that a Suddenlink customer has infringed the copyright
     owner's work(s) by way of sharing, downloading, or uploading copyright protected material with others even

    when that material is not stored on an Altice server or hosted website. If you believe that a Suddenlink

     customer has shared, downloaded or uploaded material in a manner that constitutes copyright infringement,

     you may submit notice of alleged infringement as follows:


        1. Notices should be sent via email to DMCA@Suddenlink.net. No other communications will be accepted

           or   responded to.
        2. Notices must follow the Automated Copyright Notice System (ACNS) 2.0 Notice and Message

            Specification. For more information, visit www.acns.net.

     Please understand that with respect to P2P file transfer(s), Altice has no technical ability or process for

     removing or disabling access to the alleged infringing material resident on a customer's computer as would be
     the case for Altice-hosted materials.


     Learn more about copyright infringement.



https://web.archive.org/web/20210804133149/https://www.suddenlink.com/digital-millenium-copyright-act                             2/3



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     Effective April 12, 2021




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